                                                               Case 8:19-cv-00449-CEH-JSS Document 248-13 Filed 12/09/20 Page 1 of 10 PageID 9382
spoke to Arielle w/FRS Invest plan Administrator. 9/24/14-vm




                                                               PCSO007152   PCSO007153   PCSO007154   PCSO007155                     PCSO007156        PCSO007157        PCSO007158        PCSO007159   PCSO007160   PCSO007161




                                                               PCSO007162   PCSO007163   PCSO007164   PCSO007165                     PCSO007166        PCSO007167        PCSO007168        PCSO007169   PCSO007170   PCSO007171




                                                               PCSO007172   PCSO007173   PCSO007174   PCSO007175                     PCSO007176        PCSO007177        PCSO007178        PCSO007179   PCSO007180   PCSO007181




                                                                                                                        PCSO007186




                                                               PCSO007182   PCSO007183   PCSO007184   PCSO007185                                       PCSO007187        PCSO007188        PCSO007189   PCSO007190   PCSO007191




                                                               PCSO007192   PCSO007193   PCSO007194   PCSO007195                     PCSO007196        PCSO007197        PCSO007198        PCSO007199   PCSO007200   PCSO007201




                                                               PCSO007202   PCSO007203   PCSO007204   PCSO007205                     PCSO007206        PCSO007207        PCSO007208        PCSO007209   PCSO007210   PCSO007211




                                                                                                           PCSO007215                     PCSO007216        PCSO007217        PCSO007218




                                                               PCSO007212   PCSO007213   PCSO007214                                                                                        PCSO007219   PCSO007220   PCSO007221




                                                               PCSO007222   PCSO007223   PCSO007224   PCSO007225                     PCSO007226        PCSO007227        PCSO007228        PCSO007229   PCSO007230   PCSO007231




                                                               PCSO007232   PCSO007233   PCSO007234   PCSO007235                     PCSO007236        PCSO007237        PCSO007238        PCSO007239   PCSO007240   PCSO007241




                                                               PCSO007242   PCSO007243   PCSO007244   PCSO007245                     PCSO007246        PCSO007247        PCSO007248        PCSO007249   PCSO007250   PCSO007251
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PCSO007252   PCSO007253   PCSO007254        PCSO007255        PCSO007256   PCSO007257                                 PCSO007258        PCSO007259        PCSO007260        PCSO007261




PCSO007262   PCSO007263   PCSO007264        PCSO007265        PCSO007266   PCSO007267                                 PCSO007268        PCSO007269        PCSO007270        PCSO007271




                                                 PCSO007275




PCSO007272   PCSO007273   PCSO007274                          PCSO007276   PCSO007277                                 PCSO007278        PCSO007279        PCSO007280        PCSO007281




PCSO007282   PCSO007283   PCSO007284        PCSO007285        PCSO007286   PCSO007287                                 PCSO007288        PCSO007289        PCSO007290        PCSO007291




PCSO007292   PCSO007293   PCSO007294        PCSO007295        PCSO007296   PCSO007297                                 PCSO007298        PCSO007299        PCSO007300        PCSO007301




PCSO007302   PCSO007303   PCSO007304        PCSO007305        PCSO007306   PCSO007307                                 PCSO007308        PCSO007309        PCSO007310        PCSO007311




                                                                                                                           PCSO007318        PCSO007319        PCSO007320        PCSO007321




PCSO007312   PCSO007313   PCSO007314        PCSO007315        PCSO007316   PCSO007317




                                                                                              Gail Newby             54475
                                                                                                           11/9/16
                                                                                        Gail Newby




                               PCSO007324




PCSO007322   PCSO007323                     PCSO007325        PCSO007326   PCSO007327                                 PCSO007328        PCSO007329        PCSO007330        PCSO007331




PCSO007332   PCSO007333   PCSO007334        PCSO007335        PCSO007336   PCSO007337                                 PCSO007338        PCSO007339        PCSO007340        PCSO007341




PCSO007342   PCSO007343   PCSO007344        PCSO007345        PCSO007346   PCSO007347                                 PCSO007348        PCSO007349        PCSO007350        PCSO007351
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PCSO007352        PCSO007353        PCSO007354        PCSO007355        PCSO007356        PCSO007357        PCSO007358        PCSO007359        PCSO007360        PCSO007361




PCSO007362        PCSO007363        PCSO007364        PCSO007365        PCSO007366        PCSO007367        PCSO007368        PCSO007369        PCSO007370        PCSO007371




PCSO007372        PCSO007373        PCSO007374        PCSO007375        PCSO007376        PCSO007377        PCSO007378        PCSO007379        PCSO007380        PCSO007381




PCSO007382        PCSO007383        PCSO007384        PCSO007385        PCSO007386        PCSO007387        PCSO007388        PCSO007389        PCSO007390        PCSO007391




PCSO007392        PCSO007393        PCSO007394        PCSO007395        PCSO007396        PCSO007397        PCSO007398        PCSO007399        PCSO007400        PCSO007401




PCSO007402        PCSO007403        PCSO007404        PCSO007405        PCSO007406        PCSO007407        PCSO007408        PCSO007409        PCSO007410        PCSO007411




                                                                             PCSO007416




PCSO007412        PCSO007413        PCSO007414        PCSO007415                          PCSO007417        PCSO007418        PCSO007419        PCSO007420        PCSO007421




     PCSO007422        PCSO007423        PCSO007424        PCSO007425        PCSO007426        PCSO007427        PCSO007428        PCSO007429        PCSO007430        PCSO007431




                                                                                               PCSO007437                                            PCSO007440




PCSO007432        PCSO007433        PCSO007434        PCSO007435        PCSO007436                          PCSO007438        PCSO007439                          PCSO007441




PCSO007442        PCSO007443        PCSO007444        PCSO007445        PCSO007446        PCSO007447        PCSO007448        PCSO007449        PCSO007450        PCSO007451
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PCSO007452   PCSO007453                           PCSO007454        PCSO007455   PCSO007456   PCSO007457   PCSO007458   PCSO007459        PCSO007460                     PCSO007461




PCSO007462   PCSO007463                           PCSO007464        PCSO007465   PCSO007466   PCSO007467   PCSO007468   PCSO007469        PCSO007470                     PCSO007471




PCSO007472   PCSO007473                           PCSO007474        PCSO007475   PCSO007476   PCSO007477   PCSO007478   PCSO007479        PCSO007480                     PCSO007481




                                                                                                                                                            PCSO007491
                  PCSO007483                           PCSO007484




PCSO007482                                                          PCSO007485   PCSO007486   PCSO007487   PCSO007488   PCSO007489        PCSO007490




                                                                                                                             PCSO007499        PCSO007500




PCSO007492   PCSO007493                           PCSO007494        PCSO007495   PCSO007496   PCSO007497   PCSO007498                                                    PCSO007501




PCSO007502   PCSO007503                           PCSO007504        PCSO007505   PCSO007506   PCSO007507   PCSO007508   PCSO007509        PCSO007510                     PCSO007511




PCSO007512   PCSO007513                           PCSO007514        PCSO007515   PCSO007516   PCSO007517   PCSO007518   PCSO007519        PCSO007520                     PCSO007521




PCSO007522   PCSO007523                           PCSO007524        PCSO007525   PCSO007526   PCSO007527   PCSO007528   PCSO007529        PCSO007530                     PCSO007531




                                POSTED1/26/2015




                               EMAILED1/26/2015




PCSO007532   PCSO007533                           PCSO007534        PCSO007535
                                                                                 PCSO007536   PCSO007537   PCSO007538   PCSO007539        PCSO007540                     PCSO007541




PCSO007542   PCSO007543                           PCSO007544        PCSO007545   PCSO007546   PCSO007547   PCSO007548   PCSO007549        PCSO007550                     PCSO007551
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PCSO007552                             PCSO007553        PCSO007554        PCSO007555   PCSO007556   PCSO007557   PCSO007558   PCSO007559   PCSO007560   PCSO007561




                                                                                                                                                                      PCSO007571
PCSO007562                             PCSO007563        PCSO007564        PCSO007565   PCSO007566   PCSO007567   PCSO007568   PCSO007569   PCSO007570
             PCSO007572




                                       PCSO007573        PCSO007574        PCSO007575   PCSO007576   PCSO007577   PCSO007578   PCSO007579   PCSO007580   PCSO007581




PCSO007582                             PCSO007583        PCSO007584        PCSO007585   PCSO007586   PCSO007587   PCSO007588   PCSO007589   PCSO007590   PCSO007591




PCSO007592                             PCSO007593        PCSO007594        PCSO007595   PCSO007596   PCSO007597   PCSO007598   PCSO007599   PCSO007600   PCSO007601




                                            PCSO007603




PCSO007602                                               PCSO007604        PCSO007605   PCSO007606   PCSO007607   PCSO007608   PCSO007609   PCSO007610   PCSO007611




                                                              PCSO007614




PCSO007612                             PCSO007613                          PCSO007615   PCSO007616   PCSO007617   PCSO007618   PCSO007619   PCSO007620   PCSO007621




PCSO007622                             PCSO007623        PCSO007624        PCSO007625   PCSO007626   PCSO007627   PCSO007628   PCSO007629   PCSO007630   PCSO007631




                          PCSO007633




PCSO007632                                               PCSO007634        PCSO007635   PCSO007636   PCSO007637   PCSO007638   PCSO007639   PCSO007640   PCSO007641




PCSO007642                             PCSO007643        PCSO007644        PCSO007645   PCSO007646   PCSO007647   PCSO007648   PCSO007649   PCSO007650   PCSO007651
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PCSO007652   PCSO007653   PCSO007654                           PCSO007655   PCSO007656        PCSO007657   PCSO007658                                 PCSO007659        PCSO007660   PCSO007661




PCSO007662   PCSO007663   PCSO007664                           PCSO007665   PCSO007666        PCSO007667   PCSO007668                                 PCSO007669        PCSO007670   PCSO007671




PCSO007672   PCSO007673   PCSO007674                           PCSO007675   PCSO007676        PCSO007677   PCSO007678                                 PCSO007679        PCSO007680   PCSO007681




PCSO007682   PCSO007683   PCSO007684                           PCSO007685   PCSO007686        PCSO007687   PCSO007688                                 PCSO007689        PCSO007690   PCSO007691




                                                                                 PCSO007696                                                                PCSO007699




PCSO007692   PCSO007693   PCSO007694                           PCSO007695                     PCSO007697   PCSO007698                                                   PCSO007700   PCSO007701




PCSO007702   PCSO007703   PCSO007704                           PCSO007705   PCSO007706        PCSO007707   PCSO007708                                 PCSO007709        PCSO007710   PCSO007711




                                              POSTED1/5/2012
                                                                                                                                    POSTED6/10/2015




                                                                                                                        Recd 6/10
                                       FISCAL1/5/2012




                                                    EMAILED1/5/2012




PCSO007712   PCSO007713   PCSO007714                           PCSO007715   PCSO007716        PCSO007717   PCSO007718                                 PCSO007719        PCSO007720   PCSO007721




PCSO007722   PCSO007723   PCSO007724                           PCSO007725   PCSO007726        PCSO007727   PCSO007728                                 PCSO007729        PCSO007730   PCSO007731




PCSO007732   PCSO007733   PCSO007734                           PCSO007735   PCSO007736        PCSO007737   PCSO007738                                 PCSO007739        PCSO007740   PCSO007741




PCSO007742   PCSO007743   PCSO007744                           PCSO007745   PCSO007746        PCSO007747   PCSO007748                                 PCSO007749        PCSO007750   PCSO007751
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PCSO007752   PCSO007753   PCSO007754        PCSO007755   PCSO007756   PCSO007757   PCSO007758   PCSO007759        PCSO007760   PCSO007761




                                                                                                     PCSO007769




PCSO007762   PCSO007763   PCSO007764        PCSO007765   PCSO007766   PCSO007767   PCSO007768                     PCSO007770   PCSO007771




PCSO007772   PCSO007773   PCSO007774        PCSO007775   PCSO007776   PCSO007777   PCSO007778   PCSO007779        PCSO007780   PCSO007781




                               PCSO007784




PCSO007782   PCSO007783                     PCSO007785   PCSO007786   PCSO007787   PCSO007788   PCSO007789        PCSO007790   PCSO007791




PCSO007792   PCSO007793   PCSO007794        PCSO007795   PCSO007796   PCSO007797   PCSO007798   PCSO007799        PCSO007800   PCSO007801




PCSO007802   PCSO007803   PCSO007804        PCSO007805   PCSO007806   PCSO007807   PCSO007808   PCSO007809        PCSO007810   PCSO007811




PCSO007812   PCSO007813   PCSO007814        PCSO007815   PCSO007816   PCSO007817   PCSO007818   PCSO007819        PCSO007820   PCSO007821




PCSO007822   PCSO007823   PCSO007824        PCSO007825   PCSO007826   PCSO007827   PCSO007828   PCSO007829        PCSO007830   PCSO007831




PCSO007832   PCSO007833   PCSO007834        PCSO007835   PCSO007836   PCSO007837   PCSO007838   PCSO007839        PCSO007840   PCSO007841




PCSO007842   PCSO007843   PCSO007844        PCSO007845   PCSO007846   PCSO007847   PCSO007848   PCSO007849        PCSO007850   PCSO007851
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PCSO007852        PCSO007853        PCSO007854        PCSO007855                     PCSO007856   PCSO007857   PCSO007858   PCSO007859   PCSO007860   PCSO007861




                                                                        PCSO007866
PCSO007862        PCSO007863        PCSO007864        PCSO007865                                  PCSO007867   PCSO007868   PCSO007869   PCSO007870   PCSO007871




PCSO007872        PCSO007873        PCSO007874        PCSO007875                     PCSO007876   PCSO007877   PCSO007878   PCSO007879   PCSO007880   PCSO007881




PCSO007882        PCSO007883        PCSO007884        PCSO007885                     PCSO007886   PCSO007887   PCSO007888   PCSO007889   PCSO007890   PCSO007891




     PCSO007892        PCSO007893        PCSO007894        PCSO007895




                                                                                     PCSO007896   PCSO007897   PCSO007898   PCSO007899   PCSO007900   PCSO007901




PCSO007902        PCSO007903        PCSO007904        PCSO007905                     PCSO007906   PCSO007907   PCSO007908   PCSO007909   PCSO007910   PCSO007911




PCSO007912        PCSO007913        PCSO007914        PCSO007915                     PCSO007916   PCSO007917   PCSO007918   PCSO007919   PCSO007920   PCSO007921




PCSO007922        PCSO007923        PCSO007924        PCSO007925                     PCSO007926   PCSO007927   PCSO007928   PCSO007929   PCSO007930   PCSO007931




PCSO007932        PCSO007933        PCSO007934        PCSO007935                     PCSO007936   PCSO007937   PCSO007938   PCSO007939   PCSO007940   PCSO007941




PCSO007942        PCSO007943        PCSO007944        PCSO007945                     PCSO007946   PCSO007947   PCSO007948   PCSO007949   PCSO007950   PCSO007951
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                                                                                                                                                          EMAILED9/12/2016




PCSO007952   PCSO007953        PCSO007954        PCSO007955        PCSO007956        PCSO007957                                         PCSO007958                              PCSO007959        PCSO007960   PCSO007961




                                                                                                                      POSTED10/6/2014




                                                                                                  PCSO007967
                                                                                                               EMAILED10/6/2014




PCSO007962   PCSO007963        PCSO007964        PCSO007965        PCSO007966                                                           PCSO007968                              PCSO007969        PCSO007970   PCSO007971




PCSO007972   PCSO007973        PCSO007974        PCSO007975        PCSO007976        PCSO007977                                         PCSO007978                              PCSO007979        PCSO007980   PCSO007981




                  PCSO007983        PCSO007984




PCSO007982                                       PCSO007985        PCSO007986        PCSO007987                                         PCSO007988                              PCSO007989        PCSO007990   PCSO007991




PCSO007992   PCSO007993        PCSO007994        PCSO007995        PCSO007996        PCSO007997                                         PCSO007998                              PCSO007999        PCSO008000   PCSO008001




PCSO008002   PCSO008003        PCSO008004        PCSO008005        PCSO008006        PCSO008007                                         PCSO008008                              PCSO008009        PCSO008010   PCSO008011




PCSO008012   PCSO008013        PCSO008014        PCSO008015        PCSO008016        PCSO008017                                         PCSO008018                              PCSO008019        PCSO008020   PCSO008021




                                    PCSO008024        PCSO008025        PCSO008026                                                           PCSO008028                              PCSO008029




PCSO008022   PCSO008023                                                              PCSO008027                                                                                                   PCSO008030   PCSO008031




                  PCSO008033




PCSO008032                     PCSO008034        PCSO008035        PCSO008036        PCSO008037                                         PCSO008038                              PCSO008039        PCSO008040   PCSO008041




PCSO008042   PCSO008043        PCSO008044        PCSO008045        PCSO008046        PCSO008047                                         PCSO008048                              PCSO008049        PCSO008050   PCSO008051
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 PCSO008052   PCSO008053   PCSO008054   PCSO008055   PCSO008056                                                PCSO008057   PCSO008058   PCSO008059   PCSO008060        PCSO008061




 PCSO008062   PCSO008063   PCSO008064   PCSO008065   PCSO008066                                                PCSO008067   PCSO008068   PCSO008069   PCSO008070        PCSO008071




 PCSO008072   PCSO008073   PCSO008074   PCSO008075   PCSO008076                                                PCSO008077   PCSO008078   PCSO008079   PCSO008080        PCSO008081




                                                                                                                                                           PCSO008090




 PCSO008082   PCSO008083   PCSO008084   PCSO008085   PCSO008086                                                PCSO008087   PCSO008088   PCSO008089                     PCSO008091




                                                                                        POSTED4/19/2012




                                                                  CLASS FULL4/19/2012       EMAILED4/19/2012




 PCSO008092   PCSO008093   PCSO008094   PCSO008095   PCSO008096                                                PCSO008097   PCSO008098   PCSO008099
